
USCA1 Opinion

	











                                                                         
                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


            No. 97-1555

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 JAMES A. CROCHIERE,

                                      Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________


                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________

                              Cyr, Senior Circuit Judge,
                                   ____________________

                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________

                  Marc D. Padellaro, with whom Joseph W. Monahan, III  and
                  _________________            ______________________
            Mary Jane Walsh were on brief,for appellant.
            _______________
                  S.  Theodore Merritt,  Assistant United States Attorney,
                  ____________________
            with  whom Donald  K. Stern,  United States Attorney,  was on
                       ________________
            brief, for appellee.
                                 ____________________

                                  November 18, 1997

                                 ____________________




















                  LYNCH,   Circuit  Judge.      James  A.   Crochiere,   a
                  LYNCH,   Circuit  Judge.
                           ______________

            correctional officer at  the Worcester County Jail  and House

            of  Correction,  was  indicted on  charges  of  violating and

            conspiring  to  violate  the  civil  rights  of  a  pre-trial

            detainee  at  the jail.    See  18  U.S.C.     2,  241,  242.
                                       ___

            Crochiere was charged with the  act of and conspiracy to pour

            boiling water  on the groin  and upper thigh of  Jose Nieves,

            who had  been arrested  on the charges  of murdering  a young

            girl.  A jury found  Crochiere guilty of the conspiracy count

            and acquitted him of the substantive count.  

                  Crochiere   makes  three   arguments  on   appeal.    He

            challenges the district  court's denial of  his motion for  a

            jury view  of the  scene of the  crime.   He contends  that a

            portion  of the  district court's  jury  instructions on  the

            conspiracy  count  was  erroneous in  that  the  instructions

            charged  that no "overt  act" is required  under the criminal

            civil rights  conspiracy statute, 18  U.S.C.   241.   He also

            argues that the evidence  was insufficient to convict  him on

            the conspiracy  count.  We affirm  and hold that 18  U.S.C.  

            241, the civil rights conspiracy statute, does not require an

            overt act.  

                                         I.  

                  We state  the facts in the  light most favorable to  the

            verdict.  See United  States v. Montas, 41 F.3d 775, 778 (1st
                      ___ ______________    ______

            Cir.  1994).  On  April 18, 1993, Jose  Nieves was brought to



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            the jail to await trial on charges that he murdered a  twelve

            year old  girl.  Nieves,  a heroin addict who  was undergoing

            detoxification, became  highly agitated  and unruly,  banging

            his head  against the bars of his cell.   Nieves cut open his

            forehead.   Several  correctional  officers, Crochiere  among

            them, came  to Nieves's cell  to restrain him.   The officers

            handcuffed  Nieves and strapped  him into a  restraint chair.

            Nieves  strongly resisted; the officers placed a blanket over

            Nieves's head to  prevent him from spitting.   The first time

            the officers  placed Nieves  in the restraint  chair, he  was

            able to free himself from the arm straps.  The second attempt

            at  restraint  was  more  successful,  and  once  Nieves  was

            securely in the chair he was no longer a threat to himself or

            to the officers.  

                  Rodney Lambert  was another pre-trial  detainee; he  was

            indicted   on  the  same  federal  civil  rights  charges  as

            Crochiere.   He pled  guilty, cooperated with  the government

            and testified against Crochiere.  His  cell was located three

            cells down from Nieves's cell.  Lambert had a hot pot  in his

            cell, and after Nieves was  restrained and the commotion died

            down,  Lambert began  boiling  water  for  soup.    Crochiere

            approached Lambert's  cell and  asked Lambert  if he  had any

            salt.  Crochiere wanted  to rub salt  into the open wound  on

            Nieves's forehead.  Lambert said that he did not, but offered

            Crochiere  an alternative  weapon: a  cup  of boiling  water.



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            Crochiere initially declined the offer, but soon returned and

            requested  the  boiling liquid.    Lambert  poured a  cup  of

            steaming  water for  Crochiere, who took  the cup  and walked

            toward Nieves's cell.  Moments  later, Nieves screamed out in

            pain, exclaiming that "[t]hey burned my pee pee," and that he

            was hurt.   Following these screams, another voice said, "Now

            you know how the little girl felt."  

                  Among the government's witnesses who testified to  these

            events were Michael Robichaud, a correctional officer on duty

            on  the  evening  of  April  18, 1993;  Foimai  Tau,  a  Unit

            Supervisor  on  duty  the same  evening;  and  Scott Croteau,

            Anibal  Antuna, and Rodney Lambert, three inmates whose cells

            were located in the same tier as Nieves's cell.

                  Nieves complained  to Officer Robichaud  of pain  in his

            groin.  Robichaud related this information to Lieutenant Tau,

            the Unit Supervisor.  Lieutenant  Tau went to see Nieves, who

            asked to see a nurse because someone had poured  hot water on

            him.   Lieutenant Tau  summoned Nurse  Elaine Gustafson,  who

            spoke with Nieves but, being at the end of her shift, refused

            to examine him.  Nurse  Dorothy Hester, the supervising nurse

            at  the jail,  did  examine  Nieves  the  following  morning.

            Because Nieves told her  he had an injury in his  groin area,

            she examined that area and observed a second-degree burn with

            blisters.   The burn extended  down to his inner  thigh area,

            and upwards to his testicles.



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                                          4















                  On  April 20,  two days  after  the burning,  Nieves was

            taken  to  Bridgewater  State  Hospital for  a  psychological

            examination  as  to his  competence  to stand  trial  for the

            charge  of murder.   A  correctional  officer at  Bridgewater

            State conducted a routine strip search of Nieves and observed

            blisters  and injury  in Nieves's  groin area.    Pursuant to

            routine practice the officer photographed the injury, and the

            photograph  was  later  sent, along  with  a  report,  to the

            Worcester County Sheriff's Office.  Kevin   Foley,  Assistant

            Deputy  Superintendent  of  the  Worcester  County  Sheriff's

            Office, then  commendably initiated an  investigation of  the

            burning.  Foley  requested reports regarding  Nieves's injury

            from  several  individuals,  including  Crochiere,  Tau,  and

            Gustafson.  All  of them denied that Nieves  had been burned,

            or  that Nieves had complained of pain and of being burned by

            a correctional officer.  The following year, around September

            of  1994, the  Federal  Bureau  of  Investigations  began  an

            investigation into  the events  surrounding Nieves's  injury,

            which, in turn,  led to the prosecution of this  case.  Nurse

            Gustafson and Supervisor Tau  eventually testified that  they

            had previously reported  falsely on the  events of April  18,

            1993, and stated that Nieves actually did complain of pain in

            his groin  and told  them that he  had been  burned with  hot

            water.

                                        II.  



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            Jury View
            _________

                  On the  second day  of trial, Crochiere  filed a  motion

            for a jury view  of the lower left tier of cells at the jail,

            the location of  these events.  Crochiere argued  that it was

            only  by viewing  the tier  of  cells that  the jurors  could

            properly  assess the  validity  of  the  statements  made  by

            several  of the witnesses -- specifically inmates Croteau and

            Lambert -- about  what they saw and heard on that night.  The

            district judge initially  deferred the decision on  the view,

            so that he could hear more of the evidence and "have a better

            sense of whether  a view [would be]  important and worthwhile

            in the context of the case."  The court ultimately denied the

            view, reasoning that it would be "not just an unnecessary use

            of  time, but actually potentially confusing and  misleading,

            because neither Croteau  nor Lambert said that they could see

            anybody  going into Nieves's  cell or  see anything  that was

            going on in the cell."

                  The decision to permit a view is entrusted to the  sound

            discretion  of  the  trial  court.    See  United  States  v.
                                                  ___  ______________

            Pettiford, 962 F.2d 74, 76  (1st Cir. 1992); United States v.
            _________                                    _____________

            Passos-Paternina, 918 F.2d 979, 986 (1st Cir. 1990).  A court
            ________________

            generally acts within that discretion in denying a motion for

            a view when there is sufficient evidence describing the scene

            in  the form  of testimony,  diagrams, or  photographs.   See
                                                                      ___

            Pettiford, 962 F.2d at 76; United States v. Drougas, 748 F.2d
            _________                  _____________    _______



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                                          6















            8, 31  (1st Cir.  1984).  In  making this  determination, the

            court may  consider such  factors as  the orderliness  of the

            trial, whether the jury would be confused or misled,  whether

            it  would be  time-consuming  or logistically  difficult, and

            whether cross-examination  had been  permitted regarding  the

            details of  the scene.   See id.; Pettiford, 962  F.2d at 76;
                                     ___ ___  _________

            Passos-Paternina, 918 F.2d at 986; Bundy v.  Dugger, 850 F.2d
            ________________                   _____     ______

            1402, 1422 (11th Cir. 1988). 

                  Crochiere  made a  non-frivolous argument in  support of

            the view as to the events in Nieves's cell which underlay the

            violation  of  civil   rights  charge,  as  opposed   to  the

            conspiracy charge.  Inmates Croteau and Lambert did at  times

            testify to having been able  to see beyond what was happening

            in front of their own  cells.  For example, Lambert testified

            that he could  see officers walking into and  out of Nieves s

            cell, and that he could see Crochiere "in front of one of the

            cells  to  [his] right."    The  evidence  in this  case  was

            somewhat inconsistent, and the credibility of each  witness s

            story as to what he saw and when he saw it was critical.  The

            average juror has not seen a jail cell block, and  might well

            have  difficulty understanding the layout and the ability (or

            inability) of inmates  to see up and down  the corridor where

            Nieves's  cell  was   located.    Crochiere  contended   that

            photographs  and charts could not  do adequate justice to the

            layout and  spacial  arrangements of  the  cell block.    Cf.
                                                                      ___



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            Pettiford, 962  F.2d at  76 (upholding denial  of view  where
            _________

            view would not have provided  clearer portrayal of scene than

            photographs did).

                  It  is also  true, as  the  district judge  noted,  that

            neither Croteau  nor Lambert  testified that  they could  see

            into Nieves's  cell.  Most  of the inmates' testimony  was of

            what they heard, and what  they saw happen in front  of their

            own cells.   A view would  not have helped to  discredit this

            testimony.  Additionally, the defendant had ample opportunity

            to  cross-examine the various  government witnesses  on their

            ability to perceive  what they claimed to see.   The question

            of  the view was  not an easy  one, and the  district judge's

            decision was considered.

                  In  light of  the  acquittal  on  the substantive  civil

            rights charge,  we need  not decide  the question of  whether

            there was  an abuse of discretion  in denying the view.   Any

            error Crochiere may  claim in this ruling was  harmless.  "In

            the usual  case, a non-constitutional  evidentiary error will

            be  treated as  harmless if  it is  highly probable  that the

            error did not contribute to  the verdict."  See United States
                                                        ___ _____________

            v. Rose, 104 F.3d 1408, 1414 (1st Cir. 1997).  The government
               ____

            bears the burden of persuasion  in a harmless error analysis.

            See id.        The  view   was  relevant  primarily   to  the
            ___ ___

            substantive    242 Count,  of which Crochiere  was acquitted,

            and not to the conspiracy count.  The  evidence was more than



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                                          8















            adequate  to support the conspiracy count that Crochiere took

            boiling water  from Lambert after  saying he wanted a  way to

            hurt Nieves.  View or  no view, Lambert plainly was competent

            to  testify about what he did in his own cell and what he and

            Crochiere said there.  Inmate Croteau also testified  that he

            saw  Crochiere  walk  past  his  cell  in  the  direction  of

            Lambert's cell, which was directly  to the left of  Croteau's

            cell.   Croteau stated  that he then  heard Crochiere  say to

            Lambert,  "Can  I  get  some  of  that?"  and  then  observed

            Crochiere walk past Croteau's cell again, in the direction of

            Nieves's cell, this  time carrying a cup  of steaming liquid.

            A view  would not  have undercut any  of this  testimony, all

            directly relevant to the conspiracy count.

                  Crochiere  argues that  the  view  was  relevant to  the

            conspiracy   count   because  it   directly   implicated  the

            witnesses' credibility.  Although a view might  have had some

            indirect   impact  on  the   jury's  assessment   of  witness

            credibility,  Crochiere had  ample  opportunity to,  and did,

            impeach  the witnesses' credibility  in a variety  of ways at

            trial.  The  jury nevertheless chose to  believe the evidence

            supporting the  conspiracy count, and a view  was unlikely to

            have altered this outcome.

            Jury Instructions:  Overt Acts
            ______________________________

                  Crochiere argues  that the district court gave erroneous

            jury  instructions on the  elements of  a conspiracy  under  



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            241, because  the court  stated that the  government was  not

            required  to  prove   the  existence  of  an   overt  act  in

            furtherance of the conspiracy.  Crochiere did not submit  any

            proposed  instructions on    241,  nor did  he object  to the

            absence   of  an  overt  act  instruction  when  specifically

            questioned on  this issue  by the district  judge.   In these

            circumstances,  the standard of  review is plain  error.  See
                                                                      ___

            United States v. Alzanki, 54  F.3d 994, 1003 (1st Cir. 1995).
            _____________    _______

            Under  this  standard,  the burden  rests  with  Crochiere to

            establish that "the  error was 'clear,' in the  sense that it

            was  'obvious,' that  it  affected 'substantial  rights,' and

            that  failure to  vacate [the conviction]  would result  in a

            'miscarriage  of justice.'"   Id.  (citing  United States  v.
                                          ___           _____________

            Olano, 507 U.S. 725, 731-38 (1993)).  
            _____

                  There was no error, plain or otherwise,  in Judge Wolf's

            instructions to the jury.  Section 241 makes it unlawful for 

                  two  or  more  persons  [to]  conspire to  injure,
                  oppress, threaten, or intimidate any person in any
                  State,  Territory,  Commonwealth,  Possession,  or
                  District  in the free exercise or enjoyment of any
                  right   or  privilege   secured  to  him   by  the
                  Constitution  or  laws of  the  United  States, or
                  because of his having so exercised the same. . . .

            18 U.S.C.   241.

                  The question  whether   241 requires  proof of an  overt

            act is an  issue that the Supreme Court  has not specifically

            addressed.   The Circuits have expressed conflicting views on

            the question.  The Ninth Circuit has held that   241 does not



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            require  proof  of  an  overt  act.   See  United  States  v.
                                                  ___  ______________

            Skillman, 922 F.2d 1370, 1375-76  (9th Cir. 1991).  The Fifth
            ________

            Circuit has inconsistently  stated both that    241 does  not

            require an overt  act, see United States v.  Morado, 454 F.2d
                                   ___ _____________     ______

            167, 169 (5th  Cir. 1972), and that   241  does require proof

            of an overt  act, see United States v. Greer,  939 F.2d 1076,
                              ___ _____________    _____

            1099  (5th Cir. 1991);  United States  v. McKenzie,  768 F.2d
                                    _____________     ________

            602, 606 (5th  Cir. 1985); United States v.  Kimble, 719 F.2d
                                       _____________     ______

            1253, 1256 (5th  Cir. 1983).   In none of  the Fifth  Circuit

            cases, however, was the question a central issue in the case.

            The Sixth Circuit has stated, also in dictum, that   241 does

            require proof of  an overt act.  See  United States v. Brown,
                                             ___  _____________    _____

            49 F.3d 1162, 1165 (6th Cir. 1995).

                  This  Circuit  has  never  decided  the  question.   The

            Supreme Court case  of United States v. Shabani,  513 U.S. 10
                                   _____________    _______

            (1994), we think,  requires a holding that    241 contains no

            overt act  requirement.   In Shabani,  the  Court found  that
                                         _______

            there was no overt act  requirement where the language of the

            drug  conspiracy statute,  there 21  U.S.C.    846,1  did not

            require  proof  of  an  overt  act, and  the  common  law  of

            conspiracy  at the  time  the  statute  was enacted  did  not

                              
          ____________________

          1.  21 U.S.C.   846 provides:

                  Any person who attempts or conspires to commit any
                  offense  defined  in   this  subchapter  shall  be
                  subject to  the same penalties as those prescribed
                  for the offense,  the commission of which  was the
                  object of the attempt or conspiracy.

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                                          11















            require an  overt act.   Accord United  States v.  Paiva, 892
                                     ______ ______________     _____

            F.2d 148, 155 (1st  Cir. 1989).  The Supreme Court noted that

            the language of  the statute does not require  "that an overt

            act be  committed to further  the conspiracy, and  [the Court

            has] not  inferred  such  a  requirement  from  congressional

            silence in other  conspiracy statutes."  Shabani, 513 U.S. at
                                                     _______

            13 (citing Nash v. United States,  229 U.S. 373, 378  (1913),
                       ____    _____________

            holding   that  no  overt  act  is  required  for  conspiracy

            liability under the Sherman Act, and Singer v. United States,
                                                 ______    _____________

            323  U.S. 338,  340  (1945),  holding that  no  overt act  is

            required for conspiracy liability under the Selective Service

            Act).    "Nash and  Singer  follow the  settled  principle of
                      ____      ______

            statutory  construction  that, absent  contrary  indications,

            Congress  intends to  adopt  the  common  law  definition  of

            statutory terms."  Shabani,  513 U.S. at 13.   And, the Court
                               _______

            continued, "the common law understanding  of conspiracy 'does

            not  make  the  doing  of  any  act  other  than the  act  of

            conspiring a condition of liability.'"  Id. at 13-14 (quoting
                                                    ___

            Nash, 229 U.S. at 378).2  
            ____

                  The  same analysis  must apply  to a  construction of   

            241:  absent a showing of legislative intent to the contrary,

            we  assume that  Congress intended  to adopt  the common  law

                              
          ____________________

          2.  In  response to  Shabani's  argument that  the  law does  not
          punish  criminal  thoughts,   the  Court   replied  that   "[t]he
          prohibition against criminal conspiracy, however, does not punish
          mere thought; the criminal agreement itself is the actus reus . .
          . ."  Shabani, 813 U.S. at 16.
                _______

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                                          12















            understanding of conspiracy when it used the word "conspire."

            The legislative history of    241 reveals no contrary intent,

            and at common law "it was neither necessary to aver nor prove

            an overt  act in furtherance  of the conspiracy."   Bannon v.
                                                                ______

            United  States, 156 U.S. 464, 468  (1895), quoted in Shabani,
            ______________                             ______ __ _______

            513 U.S. at 14.

                  In Shabani,  the Court compared the language of the drug
                     _______

            conspiracy  statute,  which  contains no  express  overt  act

            requirement,  with  the language  of  the  general conspiracy

            statute,  18 U.S.C.    371,3  which  does contain  an express

            overt  act requirement.    The  Court  found  this  dichotomy

            "instructive," noting  that "[i]n  light  of this  additional

            element in  the general conspiracy statute, Congress' silence

            in   846  speaks volumes.  After all,  the general conspiracy

            statute preceded  and presumably  provided the  framework for

            the more  specific drug  conspiracy statute."   Shabani,  513
                                                            _______

            U.S. at 14.  

                  The general  conspiracy statute, 18  U.S.C.    371, with

            its   explicit  overt  act  requirement,  also  preceded  the


                              
          ____________________

          3.  18 U.S.C.   371 provides, in relevant part:

                  If two or  more persons conspire either  to commit
                  any offense against the United States . . . or any
                  agency thereof in  any manner or for  any purpose,
                  and  one or  more of  such persons  do any  act to
                                                      ______________
                  effect the object  of the  conspiracy, each  shall
                  _____________________________________
                  [be subject to criminal penalties].

          (emphasis added)

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            enactment of     241.   The  general conspiracy  statute  was

            originally enacted  by Congress in  1867, 14 Stat.  484, Add.

            25,  and  remains  essentially unchanged  today.    The civil

            rights conspiracy  statute, 18 U.S.C.    241, was  enacted in

            1870, "as  part of what came  to be known as  the Enforcement

            Act of  1870,"  United  States v.  Price, 383  U.S. 787,  801
                            ______________     _____

            (1966) (footnote omitted), and  also remains in substantially

            the same  form today.  By  the time it enacted what  is now  

            241,  Congress had,  when it  wanted to  import an  overt act

            requirement, made it explicit.   But Congress chose not to do

            so in    241.   We  recognize, but  are not  persuaded by,  a

            contrary  argument that Congress, having placed the overt act

            requirement  in  the  general  conspiracy  statute,  felt  it

            unnecessary  to  place  such language  in  future  conspiracy

            statutes although it fully intended the overt act requirement

            to apply.   This argument cannot be squared  with the Shabini
                                                                  _______

            Court's interpretation of congressional silence. 

                  Our conclusion that Congress did  not intend to  require

            an overt  act in    241 is  bolstered by Supreme  Court cases

            that have  emphasized the breadth of     241 and 242, and the

            prosecutorial force that Congress intended to give them.   In

            Price, the  Court discussed  the history of     241  and 242.
            _____

            The Court noted that the statutes 

                  must  be viewed against the events and passions of
                  the time.  The Civil  War had ended in April 1865.
                  Relations   between   Negroes  and   whites   were
                  increasingly  turbulent.     Congress   had  taken


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                                          14















                  control  of  the  entire governmental  process  in
                  former Confederate States. 

                        . . . .

                        Within  the  Congress pressures  mounted  in
                  the period between the end of the war and 1870 for
                  drastic  measures.  . .  .  On May  31,  1870, the
                  Enforcement  Act  of  1870  [current     241]  was
                  enacted.  
                        In  this context,  it is  hardly conceivable
                  that Congress  intended   241  to apply only  to a
                  narrow  and  relatively  unimportant  category  of
                  rights.

            Id.  at 803-05  (footnotes  omitted).    Although  the  Price
            ___                                                     _____

            Court's focus was on  the rights that   241  protects and not

            on the existence  of an overt act requirement, its discussion

            provides  strong   support  for  the  proposition   that  the

            Reconstruction Era  Congress did not  intend   241 to  have a

            narrow  scope.    Given this  backdrop,  it  is difficult  to

            imagine that  Congress could  have intended  a definition  of

            conspiracy in    241  that was narrower  than the  common law
                                           ________

            definition  of the  term.   Were we  to judicially  import on

            overt  act requirement,  we would  be narrowing  the type  of

            activity that  Congress intended to  reach when it  enacted  

            241.  This we are not authorized to do.

            Sufficiency of the Evidence
            ___________________________

                  Crochiere's final challenge  to his conviction  rests on

            the contentions that  his conviction on the  conspiracy count

            cannot stand because it is inconsistent with the acquittal on

            the substantive count, and that  in any event the evidence on




                                         -15-
                                          15















            the  conspiracy count  was  insufficient  for  a  finding  of

            guilty.  We reject these claims.   

                  Even  if  the  verdicts were  inconsistent,  the Supreme

            Court  and this court  have clearly stated  that inconsistent

            verdicts are no  basis for setting aside a  conviction.4  See
                                                                      ___

            United  States v. Powell, 469 U.S. 57 (1984) (reaffirming the
            ______________    ______

            rule  in Dunn  v. United  States, 284  U.S. 390  (1932), that
                     ____     ______________

            inconsistency  of verdicts  is  not a  basis  for vacating  a

            conviction,  and  rejecting  any  exceptions  to  the  rule);

            United  States v.  Lopez, 944  F.2d  33, 41  (1st Cir.  1991)
            ______________     _____

            (noting  that  "the Supreme  Court  has  made it  clear  that

            verdict inconsistency in itself is not a sufficient basis for

            vacating a conviction.") (citing Powell, 469 U.S. 57).
                                             ______

                  In  any  event,  the  verdicts  in  this  case  are  not

            inconsistent  because the elements of  the two Counts are not

            identical.     Count  One  of  the  indictment  charged  that

            Crochiere  conspired with Lambert  to violate  Nieves's civil
                       _________

            rights, while Count Two charged Crochiere with the actual act

            of violation  --  the pouring  of  the scalding  liquid  onto

            Nieves's  lap.   A guilty  verdict  on Count  Two would  have

            required the  jury to find that Crochiere  himself poured the


                              
          ____________________

          4.  Crochiere cites a Northern District of  Illinois case for the
          proposition  that inconsistent verdicts may require setting aside
          a conviction  where  those verdicts  are  based on  charges  with
          "virtually identical elements."   United States v.  Infelise, 813
                                            _____________     ________
          F.  Supp. 599  (N.D. Ill.  1993).   That case is  not controlling
          authority.

                                         -16-
                                          16















            hot   liquid  on   Nieves,  and   that  Crochiere's   actions

            "result[ed] in  bodily injury" to  Nieves.  The jury  was not

            required to find either of these elements beyond a reasonable

            doubt to  convict on  the conspiracy count  alone.   The jury

            could  easily  have  concluded  that  there  was  not  enough

            evidence  to prove beyond  a reasonable doubt  that Crochiere

            was  the individual who  actually poured the  scalding liquid

            onto  Nieves's  lap.    There  was  no  eyewitness  testimony

            regarding this act.  On  the other hand, there was eyewitness

            testimony on the conspiracy count.  Lambert testified that he

            gave the  cup of steaming  water to Crochiere  intending that

            the water be  used to hurt Nieves.   There was ample evidence

            from which the jury could have concluded that Crochiere was a

            willing participant, and harbored the same unlawful intent to

            punish  Nieves.  Crochiere  had previously asked  Lambert for

            salt  to  rub  into  Nieves's  bleeding  forehead.    Croteau

            testified that he heard Crochiere  say "give me some of that"

            to  Lambert, and  that moments  later  Crochiere walked  past

            Croteau's cell with a cup  of steaming water in the direction

            of  Nieves's cell.    Robichaud testified  that  he saw  this

            exchange occur between Lambert and Crochiere.  

                  In  sum,  a  jury  could  easily  have  found sufficient

            evidence  for a  conviction  on  the  conspiracy  count,  and

            insufficient evidence  for  a conviction  on the  substantive

            count,  without  these  different  outcomes  being  logically



                                         -17-
                                          17















            inconsistent.   This  analysis also  disposes of  Crochiere's

            claim that his motion for a judgment of acquittal should have

            been granted  by the district court because  the evidence was

            insufficient to support a finding of guilty on the conspiracy

            count.  See United States v. Lopez, 944 F.2d 33, 39 (1st Cir.
                    ___ _____________    _____

            1991) (denial of  motion for judgment  of acquittal based  on

            insufficiency  of evidence  claim is  subject to  deferential

            review).    



                  Affirmed.
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